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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                     )
               Plaintiff,                    )
                                             )
              v.                             )
                                             )
SALLY ANN JOHNSON                            )
               Defendant,                    )      Court No. 1:17-CR-10265-001-DJC
                                             )
              and                            )
                                             )
BANK OF AMERICA, N.A.                        )
              Garnishee.                     )

                              CERTIFICATE OF SERVICE

       The United States certifies that on the date set forth below the Defendant SALLY ANN

JOHNSON, whose last known address is in Alderson, WV, was served by certified mail the

following documents:


       1. Copy of Application for Writ of Garnishment.

       2. Copy of Writ of Garnishment with Claim of Exemptions Form.

       3. Clerk's Notice of Garnishment.

       4. Notice of Garnishment and Instructions.

       5. Request for Hearing.
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       The United States further certifies that on the date set forth below, the Garnishee, BANK

OF AMERICA, N.A., located in Wilmington, DE was served by certified mail the following

documents:


       1. Application for Writ of Garnishment.

       2. Writ of Garnishment with Claim of Exemptions Form.

       3. Answer of the Garnishee and Instructions.


                                            Respectfully submitted,

                                            UNITED STATES OF AMERICA
                                            By its attorneys

                                            ANDREW E. LELLING
                                            United States Attorney

                                     By:    /s/ Brendan T. Mockler
                                            BRENDAN T. MOCKLER (BBO 569140)
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Date: June 20, 2018
